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            EXHIBIT 2
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U.S. Patent No. 10,771,849, Claim 1
A method
comprising:




                                             1
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receiving audio     YouTube uses two kinds of Players (“YT Player”) for receiving encoded audio and video segments:
and video
segments            YouTube App Players (e.g., iOS, Smart TVs, streaming devices, Chrome)
encoded in a
digital encoding
format and with
an encoding rate;




                                                                   2
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2. Web-based Video Playback

When a video is launched, YouTube uses a Java player. Example below:




YouTube Video, https://www.youtube.com/watch?v=beamS4GZ5T8 (“Video”).




                                              3
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The YT player is served by YouTube to the user:




Video.




                                                  4
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receiving audio     YouTube stream data identifies the protocol used for receiving encoded audio and video segments as HLS.
and video
segments            #EXTM3U
encoded in a        #EXT-X-INDEPENDENT-SEGMENTS
digital encoding    #EXT-X-MEDIA:URI="https://manifest.googlevideo.com/api/manifest/hls_playlist/expire/1711083979/ei/...
format and with
an encoding rate;   Video.




                                                                    5
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receiving audio     Media on YouTube is comprised of video and audio segments:
and video
segments
encoded in a
digital encoding
format and with
an encoding rate;




                    Video.




                                                               6
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receiving audio     The video and audio segments are visible. For example, one stream variant is:
and video
segments            #EXT-X-STREAM INF:BANDWIDTH=1314966,CODECS="vp09.00.31.08,mp4a.40.2",RESOLUTION=1280x720,FRAME-
encoded in a        RATE=24,VIDEO-RANGE=SDR,AUDIO="234",CLOSED-CAPTIONS=NONE
digital encoding
format and with     Video.
an encoding rate;
                    For this stream variant, the Video Segment is:

                    https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . .
                    /playlist/index.m3u8/govp/slices%3D0-128117/gosq/0/file/seg.ts

                    Video (excerpt).

                    The Audio Segment for that stream variant is:

                    https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/234/source/youtube/expire/ . . .
                    /begin/0/len/5339/goap/slices%3D0-162690/gosq/0/file/seg.ts

                    Video (excerpt).




                                                                     7
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The HLS standard requires segments:




Ex. 16, Roger Pantos & William May, Jr., HTTP Live Streaming, RFC 8216 Rev. 6 (Draft Mar. 2011), at 5.




                                                8
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receiving audio     As shown below, the YT Player receives data in at least two digital encoding formats: AVC1 and VP9.
and video
segments
encoded in a
digital encoding
format and with
an encoding rate;




                    Video (excerpt).

                    AVC1 is a video encoding format.
                    VP9 is a video encoding format (developed by Google).




                                                                    9
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receiving audio    The YT Player also receives, for selection, segments with multiple encoding rates tied to bandwidth (yellow):
and video
segments
encoded in a
digital encoding
format and with
an encoding
rate;




                   Video.




                                                                 10
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The HLS standard requires encoding rates:




Ex. 16, HTTP Live Streaming Draft, at 15.




                                            11
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wherein, said        The media has a YouTube playlist that defines several segment streams associated with object parameters, such as
audio and video      size (height X width), frame rate and encoding rates:
segments are
associated with
object
parameters and
supplied host path
identification to
form multimedia
objects;




                     Video.




                                                                 12
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The HLS standard requires object parameters:




Ex. 16, HTTP Live Streaming Draft, at 15-17.




                                               13
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Some object parameters are identified below:




Ex. 17, HTTP Live Streaming (HLS) authoring specification for Apple devices,
https://developer.apple.com/documentation/http-live-streaming/hls-authoring-specification-for-apple-devices (last visited Mar.
31, 2024).




                                                  14
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wherein, said       The multimedia multivariant playlist defines several segment streams that are also associated with host path
audio and video     identifiers, such as URLs:
segments are
associated with
object parameters
and supplied
host path
identification to
form multimedia
objects;




                    Video.




                                                                 15
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The HLS standard requires a host path identification:




Ex. 16, HTTP Live Streaming Draft, at 15.




Ex. 13, (HTTP Live Streaming – Creating a Multivariant Playlist, https://developer.apple.com/documentation/http-live-
streaming, at 10 (last visited Mar. 16, 2024).




                                                 16
                            Case 5:24-cv-03203-PHK Document 1-2 Filed 05/28/24 Page 18 of 36



wherein, said audio      These YouTube segments with associated objects and URLs are multimedia objects (yellow):
and video segments
are associated with
object parameters
and supplied host
path identification to
form multimedia
objects;




                         Video.




                                                                  17
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requesting by a      The YT Player requests transmission of multimedia objects:
multimedia player,
transmission of
said multimedia
objects;




                     Video.




                                                                 18
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wherein said        The YT Player locates the multimedia objects through a URL:
multimedia
objects are
located using
http and received
by said
multimedia player
from servers
using a wireless
connection;




                    Video.




                                                                19
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wherein said         The YT Player receives multimedia objects from Google’s content servers:
multimedia
objects are
located using http
and received by
said multimedia
player from
servers using a
wireless
connection;




                                                                 20
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                               21
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https://peering.google.com/#/ (last visited, Mar. 31, 2024).


For example:




https://peering.google.com/#/infrastructure (last visited Mar. 31, 2024).




                                                   22
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                     See also, Seven Networks, LLC v. Google LLC, 315 F. Supp. 3d 933, 948 (E.D. Tex. 2018) :




wherein said         Multimedia objects from YouTube can be received using a wireless connection:
multimedia
objects are
located using http
and received by
said multimedia
player from          Use YouTube on mobile browsers, https://support.google.com/youtube/answer/3008060?hl=en (last visited Mar. 31, 2024).
servers using a
wireless             See also, below:
connection;




                     Id.



                                                                    23
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playing back           The YouTube playback of multimedia objects is sequential:
received
                       #EXTM3U
multimedia             #EXT-X-VERSION:6
objects by the         #EXT-X-PLAYLIST-TYPE:VOD
                       #EXT-X-TARGETDURATION:6
multimedia             #EXT-X-MAP:URI="https://rr2---sn-8xgp1vo-
                       ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/1711852604/ei/3HcIZsOBMKKi_9EPkM2h8Ao/ip/173.72.104.227/requiressl/yes/ratebypass/yes/pfa/1/wft/1/sgovp/clen%3D18112482%3Bdur%3D144.143%3
player, wherein        Bgir%3Dyes%3Bitag%3D247%3Blmt%3D1572602175771289/rqh/1/hls_chunk_host/rr2---sn-8xgp1vo-ab5s.googlevideo.com/xpc/EgVo2aDSNQ%3D%3D/mh/y2/mm/31,26/mn/sn-8xgp1vo-ab5s,sn-
                       p5qs7n6d/ms/au,onr/mv/m/mvi/2/pcm2cms/yes/pl/21/initcwndbps/1416250/vprv/1/playlist_type/DVR/txp/5535432/mt/1711830528/fvip/1/keepalive/yes/fexp/51141541/sparams/expire,ei,ip,id,itag,source,requiressl,ratebypass,pfa,wft,sgovp,rqh,xpc,vprv,p
the multimedia         laylist_type/sig/AJfQdSswRQIgK6l20mvBQYNDJbgV-ORihBmGPUo-
                       D2X0G_tWldsVp5ACIQDHX6_WIkcgl2knAI__YwxEiC0beSyAxZXcIO9kHBVjLA%3D%3D/lsparams/hls_chunk_host,mh,mm,mn,ms,mv,mvi,pcm2cms,pl,initcwndbps/lsig/ALClDIEwRgIhAOJTpMxWXSXvQb5MAdZnJSUmow-
                       OcztJqI1BspRaIRk4AiEA4iyeMDDBwORxkbuE9aHUP-q50CWrkAQkGvFfFPJI5eY%3D/playlist/index.m3u8/govp/slices%3D0-128117/gosq/0?is=1&file=seg.ts"
player is              #EXTINF:5.339,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-128117/gosq/0/file/seg.ts
configured to          #EXTINF:5.338,
play multimedia        https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,128118-783861/gosq/1/file/seg.ts
                       #EXTINF:5.339,
objects in a           https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,783862-1502869/gosq/2/file/seg.ts
                       #EXTINF:5.339,
sequence such          https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,1502870-2227120/gosq/3/file/seg.ts
                       #EXTINF:5.338,
that fluidity, video   https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,2227121-2919572/gosq/4/file/seg.ts
                       #EXTINF:5.339,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,2919573-3612376/gosq/5/file/seg.ts
quality and audio      #EXTINF:5.339,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,3612377-4330937/gosq/6/file/seg.ts
quality are            #EXTINF:5.338,
maintained by          https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,4330938-5044629/gosq/7/file/seg.ts
                       #EXTINF:5.339,
selecting a            https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,5044630-5757879/gosq/8/file/seg.ts
                       #EXTINF:5.339,
plurality of said      https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,5757880-6499545/gosq/9/file/seg.ts
                       #EXTINF:5.338,
multimedia             https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,6499546-7198983/gosq/10/file/seg.ts
                       #EXTINF:5.339,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,7198984-7902615/gosq/11/file/seg.ts
objects that reflect   #EXTINF:5.339,
available network      https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,7902616-8631806/gosq/12/file/seg.ts
                       #EXTINF:5.338,
bandwidth,             https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,8631807-9309778/gosq/13/file/seg.ts
                       #EXTINF:5.339,
autonomously           https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,9309779-10023534/gosq/14/file/seg.ts
                       #EXTINF:5.339,
adjusting said         https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,10023535-10730169/gosq/15/file/seg.ts
                       #EXTINF:5.338,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,10730170-11426108/gosq/16/file/seg.ts
selection and          #EXTINF:5.339,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,11426109-12168520/gosq/17/file/seg.ts
playback               #EXTINF:5.339,
according to the       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,12168521-12917171/gosq/18/file/seg.ts
                       #EXTINF:5.338,
multimedia object      https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,12917172-13587022/gosq/19/file/seg.ts
                       #EXTINF:5.339,
parameters and         https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,13587023-14305726/gosq/20/file/seg.ts
                       #EXTINF:5.339,
supplied host path     https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,14305727-15030208/gosq/21/file/seg.ts
                       #EXTINF:5.338,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,15030209-15703544/gosq/22/file/seg.ts
identification, and    #EXTINF:5.339,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,15703545-16382911/gosq/23/file/seg.ts
by                     #EXTINF:5.339,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,16382912-17060897/gosq/24/file/seg.ts
                       #EXTINF:5.338,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,17060898-17688194/gosq/25/file/seg.ts
                       #EXTINF:5.338,
                       https://rr2---sn-8xgp1vo-ab5s.googlevideo.com/videoplayback/id/6de6a64b8199e53f/itag/609/source/youtube/expire/ . . . /playlist/index.m3u8/govp/slices%3D0-219,17688195-18112481/gosq/26/file/seg.ts
                       #EXT-X-ENDLIST



                       Video (excerpt).

                       In this media example, the currently playing sequence of multimedia objects are the variant segments (green). Notice the
                       playback of segments is sequential.

                                                                                                                      24
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The HLS standard requires sequential multimedia object playback.




Ex. 16, HTTP Live Streaming Draft, at 19.




Ex. 17, HTTP Live Streaming (HLS) authoring specification for Apple devices.




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playing back          YouTube playback fluidity, video quality, and audio quality are maintained based on multiple versions of each
received              stream that fit available bandwidth:
multimedia
objects by the
multimedia
player, wherein
the multimedia
player is
configured to play
multimedia
objects in a
sequence such
that fluidity,
video quality and
audio quality are
maintained by
selecting a
plurality of said
multimedia
objects that
reflect available
network
bandwidth,
autonomously
adjusting said
selection and
playback
according to the
multimedia object
parameters and
supplied host path
identification, and
by




                      Ex. 18, Making high quality video efficient, YouTube Engineering and Developers Blog, https://youtube-
                      eng.googleblog.com/2018/04/making-high-quality-video-efficient.html (Apr. 24, 2018), at 1.


                                                                       26
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playing back          YouTube playback fluidity, video quality, and audio quality are maintained based on multiple versions (green) of
received              each video that reflect available bandwidth (yellow):
multimedia
objects by the
multimedia
player, wherein
the multimedia
player is
configured to play
multimedia
objects in a
sequence such
that fluidity,
video quality and
audio quality are
maintained by
selecting a
plurality of said
multimedia
objects that
reflect available
network               Video.
bandwidth,
autonomously
adjusting said
selection and
playback
according to the
multimedia object
parameters and
supplied host path
identification, and
by




                                                                    27
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For adaptive multi-bit-rate playback, HLS requires the player to assess network bandwidth availability to select
multimedia objects:




Ex. 13, HTTP Live Streaming – Creating a Multivariant Playlist, at 9.

See also,




Ex. 16, HTTP Live Streaming Draft, at 27.




                                                  28
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playing back           The YT Player selects a playlist variant based on bandwidth:
received
multimedia
objects by the
multimedia
player, wherein
the multimedia
player is
configured to play
multimedia
objects in a
sequence such          Ex. 18, Making high quality video efficient.
that fluidity, video
quality and audio      YouTube engineering documentation explicitly states that the YouTube player (on the client) autonomously (i.e.,
quality are            without server-side intervention) adjusts the video playback.
maintained by
selecting a
plurality of said
multimedia
objects that reflect
available network
bandwidth,
autonomously
adjusting said
selection and
playback
according to the
multimedia
object
parameters and
supplied host
path
identification,
and by



                       Id.




                                                                      29
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playing back           The YT Player autonomously adjusts selection and playback of media variants (green) according to the multimedia
received               object parameters (blue):
multimedia
objects by the
multimedia
player, wherein
the multimedia
player is
configured to play
multimedia
objects in a
sequence such
that fluidity, video
quality and audio
quality are
maintained by
selecting a
plurality of said
multimedia
objects that reflect
available network
bandwidth,             Video.
autonomously
adjusting said         Selection and playback of media variants is also based on the host path identification (red).
selection and
playback
according to the
multimedia
object
parameters and
supplied host
path
identification,
and by




                                                                      30
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The HLS standard requires the media stream to possess multimedia object parameters for selection and playback.
Some are identified below:




Ex. 17, HTTP Live Streaming (HLS) authoring specification for Apple devices.




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The HLS standard also requires a host path identification:




Ex. 16, HTTP Live Streaming Draft, at 15.




Ex. 13, HTTP Live Streaming – Creating a Multivariant Playlist, at 10.

The HLS standard further requires autonomous selection of multivariant streams:




Ex. 13, HTTP Live Streaming Overview, Creating a multivariant playlist (last visited, Mar. 31, 2023).



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 utilizing            YouTube uses optimized decoding to maintain quality playback.
 optimized
 decoding             Defendants use VP9 and AVC1 to decode YouTube video:
 processes to
 maintain quality
 playback.




                      VP9 encoding1 and decoding optimizations, including DCT, are described by Defendants:

                              “After this prediction step, you have predicted block contents and you have the actual block that you’re trying to get
                              as close as possible to, and then the difference between these two is the residual signal that you’re going to encode.

                              So in current generation video codecs, we usually use . . . transforms called DCT2s to encode this residual signal.
                              [I]n VP9 . . . in addition to using the DCT, we’ve also added an asymmetric sine based transform called ADST. And
                              the sine based transform is optimized for a signal that has a near zero value at the edge of the prediction region,
                              whereas the cosine is optimized for a residual signal that has a zero signal in the middle of the predicted signal. So
                              those are optimized for different condition, and together they give good gains when used properly.”

                      Google I/O 2013 – WebM and the New VP9 Open Video Codec at 24:50 - 25:50
                      https://www.youtube.com/watch?v=K6JshvblIcM (last visited, Apr. 29, 2024).


1 This paragraph is equally applicable to decoding, which is merely the inverse of encoding.
2 DCT means “discreet cosine transform.”


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VP9 encoding and decoding optimizations, including DCT, are described by the VP9 Specification:




Ex. 22 at 22, Adrian Grange, et al., VP9 Bitstream & Decoding Process Specification, Ver. 0.7 Google, Inc. (Feb. 22, 2017).




Id.




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AVC-1 encoding and decoding optimizations, including DCT, are described by the AVC-1 Specification:




Ex. 23, Information technology — Coding of audio-visual objects, ISO/IEC 14496-10 (10th Ed., 2022-11), at 223-24.




Id. at 225, 228.



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